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AO 241 (Rev. 09/17)                                                                                            u.s n 1f- 1\~P
                                                                                                           O!t'T!,;.~, ::~ !J~i\, I COURT
                                     PETITION UNDER 28 u.s.c. § 2254 FOR WRIT OF ' J ' '' i L, I (., • t.: ~-:.! f\ ;\Si, A
                                   HABEASCORPUSBYAPERSONINSTATECUSTOl~¥J,1,      ',.   11 ,.-.,...,                        •


United States District Court                          -                   I   District:                   r, ,,~I-   ...
                                                                                                                           "- '- C. I
                                                                                                                                          M1 iU: 10       \

                                                                                                          VI/ ilj\i:_dM[; 1.·           ,1., 'r· ~• -~
Name (under which you were convicted):
                                                                                                                                                 - -·
                                                                                                                           o • t or CLas.e 0.1~ !) 1.:
                                                                                                                                                 ,:\
 NICHOLAS AVERY                                                                                      !~                     )(: ~ttVd:Jv1
Place of Confinement :                                                                         Prisoner No.:

Tecumseh State Correctional Institute                                                         211347
Petitioner (include the name under which you were convicted)                  Respondent (authorized person having custody of petitioner)

                                                                     v.
NICHOLAS AVERY                                                                Warden - Tecumseh State Cl

The Attorney General of the State of:            Nebraska

                                                                  PETITION



1.        (a) Name and location of court that entered the judgment of conviction you are challenging:

            DISTRICT COURT OF SARPY COUNTY, NEBRASKA



          (b) Criminal docket or case number (if you know):               CR19-529
2.        (a) Date of the judgment of conviction (if you know):

          (b) Date of sentencing:         March 30, 2020
                                          --------------------------
3.        Length of sentence:       _4_0_-_6_0~y.__e_a_r_S______________________
4.        In this case, were you convicted on more than one count or of more than one crime?                         )'I Yes                 □    No

5.        Identify all crimes of which you were convicted and sentenced in this case:

           SEXUAL ASSAULT OF CHILD 1ST DEG
           CHILD ENTICE BY ELEC COM DEV/VOP




6.        (a) What was your plea? (Check one)

                                      □    (1)       Not guilty               )0    (3)       Nola contendere (no contest)

                                      □    (2)       Guilty                   □     (4)       Insanity plea

                                                                                                                                                   Page 2 of 16
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          (b) If you entered a guilty plea to one count or charge and a not guilty plea to another count or charge, what did

          you plead guilty to and what did you plead not guilty to?          N/A
                                                                          ---=--=--=---'=---------------




          (c) If you went to trial, what kind of trial did you have? (Check one)

                        □   Jury     □     Judge only

7.        Did you testify at a pretrial hearing, trial, or a post-trial hearing?

                        □ Yes       ~      No

8.        Did you appeal from the judgment of conviction?

                        )(I Yes     □      No

9.        If you did appeal, answer the following:
          (a) Name of court:         Nebraska Court of Appeals
          (b) Docket or case number (if you know):

          (c) Result:                 Affirmed
         (d) Date of result (if you know):

          (e) Citation to the case (if you know):
          (f) Grounds raised:        Unknown, attorney filed on my behalf
            I told my attorney what I knew was wrong with my case and this is the
                                                        11
            response that I received: 1received your letter". I explained the issue
            with he Skype Chat Logs and the fact that the Prosecution did not turn
            them over. I received another letter stating "I received your letter."
            I then received a copy of the appeal Court decision. I then sent my
            attorney another letter and have not heard from him since.

          (g) Did you seek further review by a higher state court?            □    Yes   JQ   No

                      If yes, answer the following:
                      (1) Name of court:        N/A
                                                -~----------------------
                      (2) Docket or case number (if you know):

                      (3) Result:




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                      (4) Date of result (if you know):

                      (5) Citation to the case (if you know):

                      (6) Grounds raised:




          (h) Did you file a petition for certiorari in the United States Supreme Court?           0    Yes      )0 No
                      If yes, answer the following:

                      (1) Docket or case number (if you know):         N/A
                      (2) Result:



                      (3) Date of result (if you know):

                      (4) Citation to the case (if you know):

10.      Other than the direct appeals listed above, have you previously filed any other petitions, applications, or motions

          concerning this judgment of conviction in any state court?                M Yes          O    No

11.      If your answer to Question 10 was "Yes," give the following information:

         (a)          (1) Name of court:   DISTRICT COURT OF SARPY COUNTY, NEBRASKA
                      (2) Docket or case number (if you know): CR19-529
                      (3) Date of filing (if you know):         June 25, 2024
                                                           ----~---------------
                      (4) Nature of the proceeding:             Modification of Sentence
                      (5) Grounds raised:

                          LEARNING DISABILITIES AND TRAUMATIC CHILDHOOD
                          MENTAL ILLNESS
                          DIMINISHED CAPACITY
                          INEFFECTIVE COUNSEL
                          DISPARITY IN SENTENCING
                          REHABILITATION
                          HOME PLAN

                      (6) Did you receive a hearing where evidence was given on your petition, application, or motion?

                        0 Yes        r,Q No
                      (7) Result:   Denied
                                    ---------------------------

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                      (8) Date of result (if you know):     July 2024
          (b) If you filed any second petition, application, or motion, give the same information:

                      (1) Name of court:         N/A
                                                ----------------------------
                      (2) Docket or case number (if you know):

                      (3) Date of filing (if you know):

                      (4) Nature of the proceeding:

                      (5) Grounds raised:




                      (6) Did you receive a hearing where evidence was given on your petition, application, or motion?

                        □   Yes      □     No

                      (7) Result:

                      (8) Date of result (if you know):

          (c) If you filed any third petition, application, or motion, give the same information:

                      (1) Name of court:        N/A
                                                ...:._;:'-'-----'---'---------------------------
                      (2) Docket or case number (if you know):

                      (3) Date of filing (if you know):

                      (4) Nature of the proceeding:

                      (5) Grounds raised:




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GROUND 2 : INCONSISTENCIES IN THE CASE THE SHOULD CAUSE
ALARM TO THE COURT:

       1. Mr. Avery's personal statement from the presentence report went
          missing. His first lawyer (Nathan Lab) told him to send the packet
          to him so he could review it before forwarding it on. He told Mr.
          Avery to write that portion on a separate sheet of paper. The
          parole\probation officer claimed to have never received that extra
          paper. Mr. Avery knows that Mr. Lab's office received it, but he
          never found out what happened after that.
       2. Mr. Averys's conviction from 2017 has been repeatedly
          mischaracterized. The prosecution said he was "offering sex to a
          minor". That is wrong. The law says "Lewd and crude" language
          and this is the only reason Mr. Avery took the plea back then. It
          was never revealed how many times the police messaged him
          pretending to be somebody else (adults and minors). Mr. Avery
          later was able to count 7. It took all of this effort before he finally
          said something they could prosecute. Mr. Avery never said that he
          wanted to meet with any of the minors (or the pretend minors),
          but he did say yes to adults. When he said "We can meet when you
          are older", this was like saying "We'll see" as in "stop asking
          already, the answer is no!".
       3. S.W. lied about telling Mr. Avery her true age. She said she
          eventually told him her true age, that is not true. In the Deposition
          S.W. says she told Mr. Avery her true age in a text message. All of
          the text messages were collected. Her age is not in any of the text
          messages. Mr. Avery never heard her true age until he was locked
          up and saw it on the news. S.W. lied about asking to go back home.
          In her deposition she says she asked to go back home right after
          arriving at his house. That is a lie. She never did. Mr. Avery would
          have paid for a trip for her to go back home or any place else within
          reason. She wanted to pay for the Lyft she took, but Mr. Avery
          insisted on paying. She could have paid for one back home if she
          really wanted to. She ordered the Lyft even though he paid for it,
          so she knows how to do it. If Mr. Avery was holding her, she could
          have called a Lyft while he was working or asleep. Her reason was
          "That's when I slept". She was using her phone on his WiFi
          network If what she says is true, then why didn't Mr. Avery take
          her phorie away? And why would he give her his Wifi password?
       4. S.W. lied about Mr. Avery forcing himself on her. She says he hit
          and slapped her and dragged her up a flight of stairs. This is not
          true. He is not strong enough to pull her up stairs even if she were
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          not fighting. Mr. Avery is very thin and rather weak And she is
          not a light person, she weighs more than Mr. Avery does. It doesn 1t
          seem like the prosecution believed her here but they presented it
          anyway.
       5. Mr. Avery was accused of violating probation conditions that did
          not exist. The Judge and lawyers thought he was required to use
          computer monitoring software and that he was violating probation
          just talking to a person online. That is not true. He was required to
          use and did use internet filtering software. Mr. Avery attempted to
          tell Nathan Lab this, but he didn 1t understand. Mr. Avery brought
          this up during the presentence interview along with the fact that
          Mr. Avery only started talking to people online after his parole
          officer encouraged him as a way to socialize. Mr. Avery 1s
          clarification was described as ''blaming other people'' in the
          presentence report and the Judge cited this in his decision. The
          Judge and both lawyers continued to describe the fact that Mr.
          Avery was talking to a person online as "concerning". Besides her
          age, nothing was breaking the rules.
       6. The Judge thought Mr. Avery should have known S.W's true age
          because she had a stuffed animal. This is unreasonable, his sister
          and his mother, both over 30 yrs old, have stuffed animals. In 2018
          he helped his friend, Jill, move. She is also over 30 and they filled
          up 2 tall kitchen trash bags with her stuffed animals. Mr. Avery
          once gave his dad a stuffed animal. There are people in Mr. Avery's
          unit, in prison, that have a stuffed animal.
       7. The Judge thought Mr. Avery should have known S.W. 's true age
          because she had a pacifier in her belongings. Mr. Avery does not
          search people when he welcomes them into his house. S.W.
          identifies herself as a "little", somebody that likes to pretend to be
          much younger than they are. For example, they might use a
          pacifier. Internet profiles were found stating this on her profiles.
       8. The Judge thought Mr. Avery should have known her true age, this
          is the same report that used the words Abnormal Cognitive Profile,
          because he }}as a higher than average I.Q There is no part of an IQ
          test that deals with guessing people's ages. He is not aware of any
          study that shows a correlation between IQ and guessing ages.
          Nathan Lab even said she looks older than 13. The Judge and
          prosecutor repeatedly stated her age wrong.
       9. Mr. Avery was accused of minimizing it because he used colloquial
          definitions instead of legal ones. He originally had 3 counts
          because they found 3 condoms at his house. Ted Delaet believed
          Mr. Avery was minimizing when he described having sex once. But
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          Mr. Avery believes most people would call that one encounter
          regardless of the number of condoms used. Any sex education
          class will tell you it is appropriate to use more than one condom in
          one encounter. For what it is worth, S.W. did not want to use a
          condom.
      10. Mr. Avery attempted to confirm S.W. 's age using the background
          check service provided at landlordtools.com. This is a service he
          had used before when he rented out one of the extra bedrooms in
          his house. Doctor Ted Delaet did not seem to believe him when he
          told him about this. The Skype chat logs would confirm Mr. Avery
          was telling the truth. Landlordtools.com was unable to find
          information about whatever she entered. Mr. Avery decided that
          because she at least tried, she must be telling the truth. She told
          him she was being abused at home and he did not want to leave her
          there. Mr. Avery believes the report by Dr Delaet included his belief
          that Mr. Avery made all of this up. It was later found that she had
          been searching for a way to make a false ID and had one or more
          men mailing sex toys to her house.
      11. Mr. Avery believes the prosecution never turned over the Skype
          chat logs. The Motion for Discovery listed ''Skype chat logs.'' The
          prosecutor objected to this and the Judge affirmed it, ordering
          them to turn it over. The prosecutor also claimed to not know
          what II Skype chat logs II were. It would have been stored on Mr.
          Avery's computer that was in police custody. These logs would
          have helped confirm things Mr. Avery has been saying.
      12. Nobody cared to ask about the extreme mental anguish Mr. Avery
          experienced learning he had sexual contact with a 13 year old! Mr.
          Avery would have rather killed himself. He has never wanted to
          meet somebody so young, much less have any sort of sexual
          encounter with them. He has always been clear about this in every
          gathered communication.
      13. Not all of the character letters were forwarded to the Court, instead
          Nathan Lab decided not to send all of his character letters to the
          Judge.
      14. The Prosecution continuously described his behavior as "luring a
          child,, even after discovering that he answered an ad from a person
          claiming to be 19 years old and in an abusive home.
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                       (6) Did you receive a hearing where evidence was given on your petition, application, or motion?

                         □   Yes      □      No

                       (7) Result:

                       (8) Date of result (if you know):

           (d) Did you appeal to the highest state court having jurisdiction over the action taken on your petition, application,

          or motion?

                       (1) First petition:        □   Yes   )Q No
                       (2) Second petition:       □   Yes       □   No

                       (3) Third petition:        □   Yes       □   No

           (e) If you did not appeal to the highest state court having jurisdiction, explain why you did not:

              My attorney filed direct appeal, I have no knowledge of what was in it

 12.      For this petition, state every ground on which you claim that you are being held in violation of the Constitution,
          laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
          supporting each ground. Any legal arguments must be submitted in a separate memorandum.

          CAUTION: To proceed in the federal court, you must ordinarily first exhaust (use up) your available
          state-court remedies on each ground on which you request action by the federal court Also, if you fail to set
          forth all the grounds in this petition, you may be barred from presenting additional grounds at a later date.

 GROUND ONE:                 INEFFECTIVE COUNSEL

 (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
Mr. Avery received Ineffective Counsel because counsel did not argue the cas~ for him. He was
uneducated in the law and did not understand the court process and his rights. Counsel deprived him
of establishing important mitigating circumstances when he was not afforded the opportunity to
presenHestimonyhe-court-dur'                        •                     •          •      nt through the
motions, nor did he try to discredit anything that the state brought before the court. Counsel did not
object to anything. Counsel has, to this date, still not provided Mr. Avery with all of the discovery in
his ease. Counsel did not argue---that---Mr;-ery-was-s,enteneed outside his -guidelmes. Couns-el did not
bring to the court's attention that Mr. Avery has learning disabilities and therefore did not
understand the court proceedings. Counsel did not order a mental health evaluation of Mr. Avery,
even though it was clearly warranted. Counsel did not argue with the court that this was a
 (b) If you did not exhaust your state remedies on Ground One, explain why:  consensual relationship. Mr. Avery
                                                                             admits having a consensual
                                                                             relationship with the •Jictim and knows
  N/A                                                                       that it was wrong, but again this was a
                                                                             consensual relationship, she voluntary
                                                                             came to his house. The victim willingly
                                                                             got into the Lyft vehicle and came to his
                                                                             house. Yes, he is guilty of having a
                                                                             relationship with a minor but nothing
                                                                             more.


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(c)      Direct Appeal of Ground One:

          (1) If you appealed from the judgment of conviction, did you raise this issue?            M Yes           □   No

          (2) If you did not raise this issue in your direct appeal, explain why:




(d) Post-Conviction Proceedings:

          (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                      1J Yes      □      No

          (2) If your answer to Question (d)(l) is "Yes," state:

         Typeofmotionorpetition:              MODIFICATION OF SENTENCE
         Name and location of the court where the motion or petition was filed:
           DISTRICT COURT OF SARPY COUNTY, NEBRASKA
         Docket or case number (if you know):       CR19-529
         Date of the court's decision:        July 2024
         Result (attach a copy of the court's opinion or order, if available):      Denied



         (3) Did you receive a hearing on your motion or petition?                                  □    Yes       ~    No
         (4) Did you appeal from the denial of your motion or petition?                             □    Yes       M No
         (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?    □    Yes        □   No

         (6) If your answer to Question (d)(4) is "Yes," state:

         Name and location of the court where the appeal was filed:        N/A
                                                                         -----------------

         Docket or case number (if you know):

         Date of the court's decision:

         Result (attach a copy of the court's opinion or order, if available):




         (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:

            N/A




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  (e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you have

  used to exhaust your state remedies on Ground One:         None



  GROUND TWO:     INCONSISTENCIES IN THE COURT CASE THAT SHOULD
 BE CAUSE FOR ALARM
  (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
Mr. Avery s()ersonal statement from the presentence report went missing. His first lawyer (Nathan
Lab) told him to send the packet to him so he could review it before forwarding it on. He told Mr.
Avery to write that portion on a separate sheet of paper. The parole\probation officer claimed to have
never received that extra paper. Mr. Avery knows that Mr. Lab's office received It, but he never found
out what happened after that. Mr. Avery satonviction from 2017 has been repeatedly
mischaracterized. The prosecution said he was "offering sex to a minor". That is wrong. The law says
"Lewd and crude" language and this Is the only reason Mr. Avery took the plea back then. It was never
revealed how many times the police messaged him pretending to he somebody else (adults and
minors). Mr. Avery later was able to count 7. It took all of this effort before he finally said something
they could prosecute. Mr. Avery never said that he wanted to meet with any of the minors (or the
pretend minors), but he did say yes to adults. When he said "We can meet when you are older'', this
was like saying ·We'll see" as in "stop asking already, the answer is no!".                      CONTINUED ....
  (b) If you did not exhaust your state remedies on Ground Two, explain why:           N/A
                                                                                      --------------




  (c)      Direct Appeal of Ground Two:

            (1) If you appealed from the judgment of conviction, did you raise this issue?             0     Yes      ]IQ No
            (2) If you did not raise this issue in your direct appeal, explain why:

              My attorney filed direct appeal, I have no knowledge of what was in
              it
  (d)       Post-Conviction Proceedings:

            (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                        X, Yes      0    No

            (2) If your answer to Question (d)(l) is "Yes," state:

           Type of motion or petition:        MODIFICATION OF SENTENCE
           Name and location of the court where the motion or petition was filed:

               DISTRICT COURT OF SARPY COUNTY, NEBRASKA

            Docket or case number (if you know):         CR19-529

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          Date of the court's decision:       July 2024
          Result (attach a copy of the court's opinion or order, if available):      Denied



          (3) Did you receive a hearing on your motion or petition?                                  0     Yes   '1J No
          (4) Did you appeal from the denial of your motion or petition?                             0     Yes   XI No
          (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?    0     Yes   0     No

          (6) If your answer to Question (d)(4) is "Yes," state:

          Name and location of the court where the appeal was filed:
            N/A
         Docket or case number (if you know):

          Date of the court's decision:

         Result (attach a copy of the court's opinion or order, if available):




         (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:




(e)       Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

         have used to exhaust your state remedies on Ground Two :                 None




GROUND THREE:                     MR. AVERY SJJIENTAL ILLNESS

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
Mr. Avery has Severe Depression, Anti-Social Disorder and PTSD which is known to be linked to
criminal activity. The psychiatrist at his prison said Mr. Avery has Borderline Personality and
probably mild Autism. Also mentioned were Extreme Social Isolation and Abnormal Cognitive
Profile. Certain psychiatric conditions do increase a person slisk of committing a crime. Research
suggests that patients with mental illness may be more prone to violence if they do not receive
adequate treatment, are actively experiencing delusions, or have long-standing paranoia. Such
patients are often under the influence of their psychiatric illness such as command hallucinations.
Other comorbidities include conditions such as substance use disorder, unemployment,
homelessness, and secondary effects of mental illness such as cognitive impairment, compound
the risk of committing a crime.                                                                 Page 9 of 16
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(b) If you did not exhaust your state remedies on Ground Three, explain why:        N/A
                                                                                    ---------------




(c)       Direct Appeal of Ground Three:
          (1) If you appealed from the judgment of conviction, did you raise this issue?            tJ   Yes        iM No
          (2) If you did not raise this issue in your direct appeal, explain why:

            My attorney filed direct appeal, I have no knowledge of what was in it

(d)      Post-Conviction Proceedings:
          (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                      ~ Yes        0      No

          (2) If your answer to Question (d)(l) is "Yes," state:

         Type of motion or petition:           MODIFICATION OF SENTENCE
          Name and location of the court where the motion or petition was filed:
          DISTRICT COURT OF SARPY COUNTY, NEBRASKA
          Docket or case number (if you know):        CR19-529
                                                    ------------------------
          Date of the court's decision:        July 2024
          Result (attach a copy of the court's opinion or order, if available):      Denied



          (3) Did you receive a hearing on your motion or petition?                                 0    Yes        ~ No

          (4) Did you appeal from the denial of your motion or petition?                            0    Yes        iM No
          (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?   0    Yes        O No

          (6) If your answer to Question (d)(4) is "Yes," state:

          Name and location of the court where the appeal was filed:          N/A
                                                                          -----------------

          Docket or case number (if you know):

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




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          (7) If your answer to Question (d)(4) or Question (d)(S) is "No," explain why you did not raise this issue:

            N/A



(e)       Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

          have used to exhaust your state remedies on Ground Three:         None
                                                                          ---------------




GROUND FOUR:              MR. AVERY 81.EARN ING DISABILITIES AND TRAUMATIC
  CHILDHOOD
(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

Mr. Avery has been diagnosed with ADHD and was prescribed Ritalin. He was
in Special Education throughout school and needed extra help with speech and
reading. Mr. Avery has suffered a traumatic childhood that had a terrible effect
on him at such a young age.
He was bullied at school and teased and bullied by his older brother at home.
His parents divorced when he was 16 years old and he took it hard. He was
bullied just about everyday in middle and high school and even spit on.

(b) If you did not exhaust your state remedies on Ground Four, explain why:            N/A
                                                                                       ____.c_ _ _ _ _ _ _ _ _ __




(c)       Direct Appeal of Ground Four:

          (1) If you appealed from the judgment of conviction, did you raise this issue?             □     Yes     M No
          (2) If you did not raise this issue in your direct appeal, explain why:

             My attorney filed direct appeal, I have no knowledge of what was in
             it
(d)       Post-Conviction Proceedings:

          (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                      )(I Yes     □     No

          (2) If your answer to Question (d)(l) is "Yes," state:

          Type of motion or petition:        MODIFICATION OF SENTENCE

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          Name and location of the court where the motion or petition was filed:

           DISTRICT COURT OF SARPY COUNTY, NEBRASKA
          Docket or case number (if you know):  CR19-529
                                               -------------------------
          Date, of the court's decision:  July 2024
          Result (attach a copy of the court's opinion or order, if available):      Denied



          (3) Did you receive a hearing on your motion or petition?                                  0   Yes      M No
          (4) Did you appeal from the denial of your motion or petition?                             □   Yes      ~ No
          (5) If your answer to Question (d)(4) is ''Yes," did you raise this issue in the appeal?   □   Yes      □     No

          (6) If your answer to Question (d)(4) is "Yes," state:

          Name and location of the court where the appeal was filed:

            N/A
          Docket or case number (if you know):

          Date of the court's decision:

         Result (attach a copy of the court's opinion or order, if available):




          (7) If your answer to Question (d)(4) or Question (d)(S) is "No," explain why you did not raise this issue:




(e)       Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

         have used to exhaust your state remedies on Ground Four:            None




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13.       Please answer these additional questions about the petition you are filing:

          (a)         Have all grounds for relief that you have raised in this petition been presented to the highest state court

                      having jurisdiction?    )0 Yes         □     No

                      If your answer is "No," state which grounds have not been so presented and give your reason(s) for not
                      presenting them:          N/A



          (b)         Is there any ground in this petition that has not been presented in some state or federal court? If so, which

                      ground or grounds have not been presented, and state your reasons for not presenting them:

                       No



14.       Have you previously filed any type of petition, application, or motion in a federal court regarding the conviction

          that you challenge in this petition?          □    Yes        lfJ No
          If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, the issues
          raised, the date of the court's decision, and the result for each petition, application, or motion filed. Attach a copy

          of any court opinion or order, if available.           N/A




15.       Do you have any petition or appeal now pending (filed and not decided yet) in any court, either state or federal, for

          the judgment you are challenging?             □    Yes        M No
          If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, and the issues

          raised.            N/A




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16.       Give the name and address, if you know, of each attorney who represented you in the following stages of the

         judgment you are challenging:

          (a) At preliminary hearing:         Nathan Lab

          (b) At arraignment and plea:        Nathan Lab

          (c) At trial:          N/A
                                ------------------------------

          (d) At sentencing:         Nathan Lab

          (e) On appeal:       Gregory Pivovar

          (f) In any post-conviction proceeding:           Prose

         (g) On appeal from any ruling against you in a post-conviction proceeding:

             N/A


17.      Do you have any future sentence to serve after you complete the sentence for the judgment that you are

         challenging?            □      Yes    }lJ    No

         (a) If so, give name and location of court that imposed the other sentence you will serve in the future:

            N/A

          (b) Give the date the other sentence was imposed:

         (c) Give the length of the other sentence:

         (d) Have you filed, or do you plan to file, any petition that challenges the judgment or sentence to be served in the

         future?                 □      Yes    □      No

18.      TIMELINESS OF PETITION: If your judgment of conviction bec;ame final over one year ago, you must explain

         why the one-year statute of limitations as contained in 28 U.S.C. § 2244(d) does not bar your petition.*

           My Post Conviction Relief was denied in July 2024, making my motion
           ripe for review.




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* The Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA") as contained in 28 U.S.C. § 2244(d) provides in
part that:

             (1)      A one-year period of limitation shall apply to an application for a writ of habeas corpus by a person in
                      custody pursuant to the judgment of a State court. The limitation period shall run from the latest of -

                      (A)      the date on which the judgment became final by the conclusion of direct review or the expiration
                               of the time for seeking such review;

                      (B)      the date on which the impediment to filing an application created by State action in violation of
                               the Constitution or laws of the United States is removed, if the applicant was prevented from
                               filing by such state action;

                      (C)      the date on which the constitutional right asserted was initially recognized by the Supreme Court,
                               if the right has been newly recognized by the Supreme Court and made retroactively applicable to
                               cases on collateral review; or

                      (D)      the date on which the factual predicate of the claim or claims presented could have been
                               discovered through the exercise of due diligence.




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          (2)         The time during which a properly filed application for State post-conviction or other collateral review with
                      respect to the pertinent judgment or claim is pending shall not be counted toward any period of limitation
                      under this subsection.

Therefore, petitioner asks that the Court grant the following relief:      Reduction in Sentence, Vacate
 Sentence, Time Served

or any other relief to which petitioner may be entitled.




                                                                          Signature of Attorney (if any)




I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Petition for

Writ of Habeas Corpus was placed in the prison mailing system on            8/19/2024                   (month, date, year).




Executed (signed) on           8/19/24                 (date).




                                                           ls/Nicholas Avery               /4~ ~
                                                                              Signature of Petitioner

If the person signing is not petitioner, state relationship to petitioner and explain why petitioner is not signing this petition.




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 IN THE DISTRICT COURT OF SARPY COUNTY,
                NEBRASKA

STATE OF NEBRASKA                       §
                                        §
  Plaintiff,                            §                  CASE NO. CR19-529
                                        §
vs.                                     §
                                        §
NICHOLAS AVERY                          §
                                        §
  Defendant.                            §
                                        §


        MOTION FOR MODIFICATION OF SENTENCE
     Comes now, Nicholas Avery, prose litigant, would like to ask this
Honorable Court to consider this pro se motion for a reduction in his sentence.
      Mr. Avery has been incarcerated for over 5 years, he was arrested on June
6, 2019 and has been incarcerated since then. He was sentenced on March 30,
2020 and pleads with this Honorable Court for a reduction in his sentence and
brings the following points to the court's attention.


                                    ARGUMENT
Your Honor, reducing his sentence would not diminish the seriousness of the
offense or undermine his original sentence.

      • Mr. Avery has already paid a substantial price for his malfeasance and no
        further justice would be served in keeping him imprisoned at this stage.

      • Mr. Avery has more than paid his dues, not only by his long enough
        incarceration, but prison is a sufficient penalty for himself and a
        sufficient deterrent for other people who would plan such a crime.

  The State would argue that reducing Mr. Avery's sentence would diminish
deterrence but granting his release would not result in unwarranted

                                                                                    1
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sentencing disparities because his original sentence would only be modified
because of unforeseen, changed circumstances.

  ARGUMENT 1: MR. AVERY'S LEARNING DISABILITIES AND TRAUMATIC
                           CHILDHOOD
       Mr. Avery has been diagnosed with ADHD and was prescribed Ritalin. He
was in Special Education throughout school and needed extra help with speech
and reading. Mr. Avery has suffered a traumatic childhood that had a terrible
effect on him at such a young age.
     He was bullied at school and teased and bullied by his older brother at
home. His parents divorced when he was 16 years old and he took it hard. He
was bullied just about everyday in middle and high school and even spit on.
See...https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9590671/ The
Relationship between Childhood Traumas and Crime in Male Prisoners : It
was observed that there is a relationship between childhood traumas and
criminal behavior in prisoners and detainees and that criminal behavior is
affected by sociodemographic variables. In addition, there is a relationship
between childhood traumas and violent tendencies. As the scores of individuals
on emotional abuse, physical abuse, physical neglect, sexual abuse, and
childhood trauma scales increased, the scores of individuals on VTS increased
as well. CTQpredicts 11% of the variance of violence tendency.
If psychiatric conditions and violence tendencies of individuals with childhood
trauma are detected, it will be possible for preventive actions to be taken
before these people become prisoners or detainees.

See ...https: //www.urban.org/urban -wire /improve-safety-understanding-and
-addressing-link-between-childhood-trauma-and-crime-key#:~:text=Peopl
e%2owho%2orepeatedly%2oexperience%2otrauma,or%2oengage%2oin%20
delinquent%2oactivity. People who repeatedly experience trauma also have an
increased likelihood for developing mental illness. Difficulties in neural and
cognitive functions, such as those associated with ACEs, have often been found
in young people who commit crimes or engage in delinquent activity.
It can be difficult for people who've experienced trauma to distinguish between
safe and dangerous situations, which increases their likelihood of poor
decision making and antisocial behaviors, which can be linked to criminality.
In one study, people who had committed criminal offenses reported nearly
four times as many adverse events in childhood than an average adult male.


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Moreover, with each additional ACE youth report, the risk of violence
perpetration increases by 35 to 144 percent.
Without intervention, many young people who've experienced ACEs enter the
criminal legal system and eventually, jail or prison. Their trauma is often
ignored, leading to insufficient mental health support and education on
trauma's effects. The prison environment itself can be traumatizing, further
damaging the psyche, potentially leading to increased chances of recidivism.


ACEs victimize young people, leaving them in need of trauma intervention and
support-not criminal legal system involvement.


See...https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3398o51/ The question
of whether childhood mental illness has long term consequences in terms of
criminal behavior has been little studied, yet it could have major consequences
for both the individual and society more generally. In this paper, we focus on
Attention - Deficit/Hyperactivity Disorder (ADHD), one of the most prevalent
ment~l conditions in school-age children, to examine the long-term effects of
childhood mental illness on criminal activities, controlling for a rich set of
individual, family, and community level variables. The empirical estimates
show that children who experience ADHD symptoms face a substantially
increased likelihood of engaging in many types of criminal activities.

See...https://portal.cops.usdoj.gov/resourcecenter/ric/Publications/cops-wo8
69-pub.pdfWhen a person is experiencing intensified anger or anxiety as the
result of a mental illness, their behavior becomes less controllable and
predictable. The anger, anxiety, depression, or panic experienced by people in
the midst of an episode of mental illness can contribute to impulsive behavior,
which often exacerbates the circumstances and severity of a criminal act. In
addition, the mental illness can lead them to experience higher levels of guilt
and hopelessness that can become overwhelming following the commission of
a crime and subsequent incarceration, leaving them at greater risk of
attempting and committing suicide while incarcerated. Finally, the mental
illness and accompanying mental confusion can make it more difficult for a
person to determine the appropriateness of their behavior or to choose not to
commit a crime because their thought processes and judgment are impaired.
See...https: //www.livescience.com/38612-childhood-bullying-criminal-delin
guency.html People who were bullied throughout childhood and adolescence

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are more likely than others to engage in delinquent or criminal behavior later
in life, a new study finds. In the new research, scientists found that about 14
percent of those who reported suffering repeated bullying through their
childhood and teenage years - up to 18 years of age - wound up serving time
in prison as adults. In comparison, 6 percent of people who did not experience
bullying ended up in prison. "Being victimized at any point in time was
associated with higher odds of delinquency, substance abuse, arrests and
convictions in late adolescence and adulthood," Turner told LiveScience. "But
chronic victims - those who were bullied in childhood and adolescence - had
the highest odds of adverse legal outcomes. 11
"Most studies found bullying and offenders are associated with higher crime,"
Turner said. 11 I found support that being a victim is also associated with
adverse legal outcomes.,,



               ARGUMENT 2: MR. AVERY'S MENTAL ILLNESS
       Mr. Avery has Severe Depression, Anti-Social Disorder and PTSD which
is known to be linked to criminal activity. The psychiatrist at his prison said
Mr. Avery has Borderline Personality and probably mild Autism. Also
mentioned were Extreme Social Isolation and Abnormal Cognitive Profile.
Certain psychiatric conditions do increase a person's risk of committing a
crime. Research suggests that patients with mental illness may be more prone
to violence if they do not receive adequate treatment, are actively experiencing
delusions, or have long-standing paranoia. Such patients are often under the
influence of their psychiatric illness such as command hallucinations. Other
comorbidities include conditions such as substance use disorder,
unemployment, homelessness, and secondary effects of mental illness such as
cognitive impairment, compound the risk of committing a crime.
See...https://www.ncbi.nlm.nih.gov/pmc/articles/PMC34o2156/ Offending
behavior: the role of trauma and PTSD
Research indicates an interlink between traumatic experiences and criminal
behavior revealing that offenders present a higher prevalence of
Post-traumatic Stress Disorder and associated symptoms when compared with
the general population.
See...https://www.thelancet.com/journals/lanpub/article/PIIS2468-2667(23)o
0075-0/fulltext Post-traumatic stress disorder and the risk of crime



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Post-traumatic stress disorder (PTSD) has been linked to crime in general
populations. Post-traumatic stress disorder (PTSD) is reported to be prevalent
in 3•9% of the global population and is characterized by exposure to a stressful
event or situation, followed by persistent, intrusive recall of the stressor and
avoidance of stressor-related circumstances. One of the criteria for PTSD
diagnosis is "marked alterations in arousal and reactivity associated with the
traumatic event(s),,, which can be indicated, in part, through "irritable
behavior ... typically expressed as verbal or physical aggression towards people
or objects.,, Because of these diagnostic criteria, previous research has
hypothesized and shown that PTSD is linked to aggression and increased risk
of behavior. One hypothesis for this link is that PTSD leads to dysregulation in
stress-mediating biological systems in response to trauma, which leads to a
fight-or-flight reaction to stress. Therefore, individuals with PTSD might have
increased liability for aggression.
Familial risk factors, including genetic and environmental influences, might
also confound the association between PTSD and crime. These familial factors
are important to consider as previous studies have reported that PTSD and
crime tend to aggregate in families and are heritable.
We showed a significantly higher risk of crime conviction in individuals with
PTSD than in individuals without PTSD. The risk was attenuated but remained
increased after controlling for measured factors linked to both PTSD and
increased risk of crime and unmeasured genetic and environmental familial
factors. Therefore, the hypothesis that PTSD might increase the risk of crime is
strengthened by our results.
See...https://www.ncbi.nlm.nih.gov/pmc/articles/PMC452o382/ Depression
increases the risk of a range of adverse outcomes including suicide, premature
mortality, and self-harm. Depression is associated with increased risk of a
wide range of adverse outcomes, including reduced life expectancy, suicide,
self-harm, acute myocardial infarction, and a worse prognosis for
comorbidities, such as heart disease and diabetes. Clinical experience and
expert opinion also suggest an association with the risk of perpetrating
violence, including homicide in male perpetrators.
                    ARGUMENT 3: DIMINISHED CAPACITY
      Diminished capacity was a mitigating factor because Mr. Avery acted
under seriously reduced mental capacity, also known as diminished capacity.
The diminished capacity was a core component of the crime, which rendered
him unable to achieve the mental state required to commit the crime in
question, for example, due to mental health issues and trauma.


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See...https://alanellis.com/answering-the-why-guestion-the-powerful-depa
rture-grounds-of-diminished-capacity-aberrant-behavior-and-post-offens
e-rehabilitation/ #: ~:text=2255%2OHabeas0/02OCorpus- ,Answering%2othe 0/02
o 'Why 1%2O0uestion%3A%2OThe0/02OPowerful%2ODeparture 0/02OGrounds 0/02
oof,Behavior%2C%2oand%2OPost%2DOffense%2ORehabilitation&text=At0/02
osentencing%2C%2omost%2ojudges%2owant, unlikely%2oto%2odo%2oit%
2oagain%3 For a substantial number of offenders, however, a mental disorder
may have contributed to the commission of the offense. In those cases, the
sentencing guidelines may provide a vehicle for a mitigated sentence. Section
5K2.13 (p.s.) has long provided for a "diminished capacity,, departure when a
defendant's "significantly reduced mental capacity ... contributed to the
commission of the offense.,, A sentence below the applicable guideline range
may be warranted if the defendant committed the offense while suffering from
a significantly reduced mental capacity. However, the court may not depart
below the applicable guideline range if:

   • (1) the significantly reduced mental capacity was caused by the voluntary
     use of drugs or other intoxicants

   • (2) the facts and circumstances of the defendant's offense indicate a
     need to protect the public because the offense involved actual violence or
     a serious threat of violence; or

   • (3) the defendant's criminal history indicates a need to incarcerate the
     defendant to protect the public.

If a departure is warranted, the extent of the departure should reflect the
extent to which the reduced mental capacity contributed to the commission of
the offense. The amendment represents a compromise approach to the circuit
conflict. The new policy statement allows a diminished capacity departure in
any case if there is sufficient evidence that the defendant committed the
offense while suffering from a significantly reduced mental capacity except
under the three specified circumstances.

                   ARGUMENT 4: INEFFECTIVE COUNSEL
      Mr. Avery received Ineffective Counsel because counsel did not argue the
case for him. Mr. Avery was uneducated in the law and did not understand the
court process and his rights. Counsel deprived Mr. Avery of establishing
important mitigating circumstances when he was not afforded the opportunity
to present testimony to the court during portions of the proceedings. Counsel

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just went through the motions, nor did he try to discredit anything that the
state brought before the court.

         • Counsel did not object to anything.
         • Counsel has, to this date, still not provided Mr. Avery with all of
           the discovery in his case.
         • Counsel did not argue that Mr. Avery was sentenced outside his
           guidelines.
         • Counsel did not bring to the court's attention that Mr. Avery has
           learning disabilities and therefore did not understand the court
           proceedings.
         • Counsel did not order a mental health evaluation of Mr. Avery,
           even though it was clearly warranted.
         • Counsel failed to fully investigate the case.
         • Counsel did not argue with the court that this was a consensual
           relationship. Mr. Avery admits having a consensual relationship
           with the victim and knows that it was wrong, but again this was a
           consensual relationship.
         • The victim willingly got into the Lyft vehicle and came to Mr.
           Avery's house. Yes, he is guilty of having a relationship with a
           minor but nothing else.

     Other inconsistencies that were in the court case that should be cause of
alarm:

         1. Mr. Avery's personal statement from the presentence report went
            missing. His first lawyer (Nathan Lab) told him to send the packet
            to hirh so he could review it before forwarding it on. He told Mr.
            Avery to write that portion on a separate sheet of paper. The
            parole\probation officer claimed to have never received that extra
            paper. Mr. Avery knows that Mr. Lab's office received it, but he
            never found out what happened after that.
         2. Mr. Averys's conviction from 2017 has been repeatedly
            mischaracterized. The prosecution said he was "offering sex to a
            minor". That is wrong. The law says "Lewd and crude" language
            and this is the only reason Mr. Avery took the plea back then. It
            was never revealed how many times the police messaged him
            pretending to be somebody else (adults and minors). Mr. Avery
            later was able to count 7. It took all of this effort before he finally
            said something they could prosecute. Mr. Avery never said that he
            wanted to meet with any of the minors (or the pretend minors),
            but he did say yes to adults. When he said "We can meet when you

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           are older", this was like saying "We'll see" as in "stop asking
           already, the answer is no!".
        3. S.W. lied about telling Mr. Avery her true age. She said she
           eventually told him her true age, that is not true. In the Deposition
           S.W. says she told Mr. Avery her true age in a text message. All of
           the text messages were collected. Her age is not in any of the text
           messages. Mr. Avery never heard her true age until he was locked
           up and saw it on the news. S.W. lied about asking to go back home.
           In her deposition she says she asked to go back home right after
           arriving at his house. That is a lie. She never did. Mr. Avery would
           have paid for a trip for her to go back home or any place else within
           reason. She wanted to pay for the Lyft she took, but Mr. Avery
           insisted on paying. She could have paid for one back home if she
           really wanted to. She ordered the Lyft even though he paid for it,
           so she knows how to do it. If Mr. Avery was holding her, she could
           have called a Lyft while he was working or asleep. Her reason was
           "That's when I slept". She was using her phone on his WiFi
           network If what she says is true, then why didn't Mr. Avery take
           her phone away? And why would he give her his Wifi password?
        4. S.W. lied about Mr. Avery forcing himself on her. She says he hit
           and slapped her and dragged her up a flight of stairs. This is not
           true. He is not strong enough to pull her up stairs even if she were
           not fighting. Mr. Avery is very thin and rather weak And she is
           not a light person, she weighs more than Mr. Avery does. It doesn't
           seem like the prosecution believed her here but they presented it
           anyway.
        5. Mr. Avery was accused of violating probation conditions that did
           not exist. The Judge and lawyers thought he was required to use
           computer monitoring software and that he was violating probation
           just talking to a person online. That is not true. He was required to
           use and did use internet filtering software. Mr. Avery attempted to
           tell Nathan Lab this, but he didn't understand. Mr. Avery brought
           this up during the presentence interview along with the fact that
           Mr. Avery only started talking to people·online after his parole
           officer encouraged him as a way to socialize. Mr. Avery's
           clarification was described as "blaming other people" in the
           presentence report and the Judge cited this in his decision. The
           Judge and both lawyers continued to describe the fact that Mr.
           Avery was talking to a person online as "concerning". Besides her
           age, nothing was breaking the rules.
        6. The Judge thought Mr. Avery should have known S.W's true age
           because she had a stuffed animal. This is unreasonable, his sister


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           and his mother, both over 30 yrs old, have stuffed animals. In 2018
           he helped his friend, Jill, move. She is also over 30 and they filled
           up 2 tall kitchen trash bags with her stuffed animals. Mr. Avery
           once gave his dad a stuffed animal. There are people in Mr. Avery's
           unit, in prison, that have a stuffed animal.
       7. The Judge thought Mr. Avery should have known S.W. 's true age
           because she had a pacifier in her belongings. Mr. Avery does not
           search people when he welcomes them into his house. S.W.
           identifies herself as a "little", somebody that likes to pretend to be
           much younger than they are. For example, they might use a
           pacifier. Internet profiles were found stating this on her profiles.
       8.. The Judge thought Mr. Avery should have known her true age, this
           is the same report that used the words Abnormal Cognitive Profile,
           because he has a higher than average I.ct There is no part of an IQ
           test that deals with guessing people's ages. He is not aware of any
           study that shows a correlation between IQ and guessing ages.
           Nathan Lab even said she looks older than 13. The Judge and
           prosecutor repeatedly stated her age wrong.
       9. Mr. Avery was accused of minimizing it because he used colloquial
           definitions instead of legal ones. He originally had 3 counts
           because they found 3 condoms at his house. Ted Delaet believed
           Mr. Avery was minimizing when he described having sex once. But
           Mr. Avery believes most people would call that one encounter
           regardless of the number of condoms used. Any sex education
           class will tell you it is appropriate to use more than one condom in
           one encounter. For what it is worth, S.W. did not want to use a
           condom.
       10. Mr. Avery attempted to confirm S.W.' sage using the background
           check service provided at landlordtools.com. This is a service he
           had used before when he rented out one of the extra bedrooms in
           his house. Doctor Ted Delaet did not seem to believe him when he
           told him about this. The Skype chat logs would confirm Mr. Avery
           was telling the truth. Landlordtools.com was unable to find
           information about whatever she entered. Mr. Avery decided that
           because she at least tried, she must be telling the truth. She told
           him she was being abused at home and he did not want to leave her
           there. Mr. Avery believes the report by Dr Delaet included his belief
           that Mr. Avery made all of this up. It was later found that she had
           been searching for a way to make a false ID and had one or more
           men mailing sex toys to her house.
       11. Mr. Avery believes the prosecution never turned over the Skype
           chat logs. The Motion for Discovery listed ''Skype chat logs.'' The

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             prosecutor objected to this and the Judge affirmed it, ordering
             them to turn it over. The prosecutor also claimed to not know
             what "Skype chat logs" were. It would have been stored on Mr.
             Avery 1s computer that was in police custody. These logs would
             have helped confirm things Mr. Avery has been saying.
         12. Nobody cared to ask about the extreme mental anguish Mr. Avery
             experienced learning he had sexual contact with a 13 year old! Mr.
             Avery would have rather killed himself. He has never wanted to
             meet somebody so young, much less have any sort of sexual
             encounter with them. He has always been clear about this in every
             gathered communication.
         13. Not all of the character letters were forwarded to the Court, instead
             Nathan Lab decided not to send all of his character letters to the
             Judge.
         14. The Prosecution continuously described his behavior as "luring a
             child,, even after discovering that he answered an ad from a person
             claiming to be 19 years old and in an abusive home.

See...https: //www.law.cornell.edu/wex/ineffective assistance of counsel#:~
;text=To 0/02oprove%2oineffective%2oassistance%2oof,proceeding%2owould •
%2ohave0/02obeen°/02O Under the Sixth Amendment of the United States
Constitution, it guarantees the right to effective assistance of counsel to
defendants in criminal proceedings.

To prove ineffective assistance of counsel, a defendant must show:
         • That their trial lawyer's conduct fell below an "objective standard
           of reasonableness" and,
         • "a reasonable probability that, but for counsel's unprofessional
           errors,,, the outcome of the criminal proceeding would have been
           different.

See...https://www.tdcaa.com/joumal/preventing-claims-of-ineffective-assist
ance-of-counsel/ The assistance of counsel "is one of the safeguards of the
Sixth Amendment deemed necessary to insure fundamental human rights of
life and liberty.... The Sixth Amendment stands as a constant admonition that
if the constitutional safeguards it provides be lost, justice will not 'still be
done.,,, A frequent ineffective assistance complaint is that the defense attorney
did not obtain pretrial discovery. This is an easy issue for the prosecutor to
help avoid simply by providing discovery as part of the case 1s preparation,
regardless of whether a motion has been filed.


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See...https://www.gordondefense.com/legal-process/post-conviction/2255-m
otions-to-vacate/ineffective-assistance-of-counsel/ The Supreme Court has
held that a citizen>s constitutional right to counsel includes a right to effective
assistance of counsel. Proving that your lawyer was ineffective at trial is one
way to get his or her conviction overturned. To prove ineffective assistance, a
defendant must show (1) that their lawyer>s performance fell below an
objective standard of reasonableness and (2) that the result of the proceeding
would have been different if the attorney had not made unprofessional errors.
See Strickland v. Washington, 466 US 668 (1984).

                  ARGUMENT 5: DISPARITY IN SENTENCING

      Sentencing disparity occurs when similar cases are not disposed
similarly or when dissimilar cases are not disposed differently. Disparity
implies that many offenders are not being sentenced in accordance with legally
relevant factors.
See...https: //www.sagepub.com/sites/default/files/upm-binaries/27008 4.pd
f Allegations of lawlessness in sentencing reflect concerns about both disparity
and discrimination. Although these terms are sometimes used
interchangeably, they do not mean the same thing. Disparity is a difference in
treatment or outcome that does not necessarily result from intentional bias or
prejudice. Applied to the sentencing process, disparity exists when similar
offenders are sentenced differently or when different offenders receive the
same sentence. It exists when judges impose different sentences on two
offenders with identical criminal histories who are convicted of the same
crime, when judges impose identical sentences on two offenders whose prior
records and crimes are very different, or when the sentence depends on the
judge who imposes it or the jurisdiction in which it is imposed.
See...https://scholarlycommons.law.northwestern.edu/cgi/viewcontent.cgi?ref
erer=&httpsredir=1&article=5585&context=jclc Disparity, however, is
unjustified if the rationale for these differences cannot be traced to relevant
distinctions of character or behavior which bear a certain known relationship
to the aims of punishment. Individualized sentencing is abused when the type
and length of sentence depends on the identity of the particular trial judge
exercising unchecked judicial discretion within a wide range of statutory
sentencing alternatives.
The imposition of disparate sentences upon offenders with similar
characteristics convicted of similar crimes hinders correctional methods.
When an offender receives an unjustified sentence, his antagonism toward
society is increased. He becomes a discipline problem, and a barrier to

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rehabilitation is erected. His family lives in an aura of injustice. Confidence in
the administration of the legal system is shaken. Not only does disparity harm
the prisoner and the prison system, but it is contrary to the basic concept of
equal treatment under the law embodied in the Fifth and Fourteenth
Amendments to the Constitution." Distinctions in treatment should be neither
arbitrary nor unreasonable; they should be based on rational distinctions
rooted in significant factual differences which have a substantial relation to a
legitimate governmental purpose.
        The following defendants were sentenced for similar cases with less
time:

           •   Juwan Grant - Sentenced to 4 years
           •   Jeffery Duncan - Sentenced to 4 ½ years
           •   Russell Wing - Sentenced to 8 years
           •   Jose Fregoso - Sentenced to 18 years
           •   Ross Knoles - Sentenced to 20-30 years
           •   Jess McConnell - Sentenced to 25-35 years
           •   Spencer White - Sentenced to 26-36 years
           •   Victor Acosta Bautista - Sentenced 53-56 years


                         ARGUMENT 6: REHABILITATION
     Mr. Avery has completed all the classes that has been able to. Since
October 22, 2023 some of the classes Mr. Avery has completed are:
           •   Mr. Avery has completed over 230 learning hours
           •   Mr. Avery has completed 84 course hours
           •   Mr. Avery has completed 147 supplemental learning hours
           •   Mr. Avery has completed 43 courses
           •   Scientific Thinking and Communications
           •   Unlock Code Camp
           •   Computer Basics
           •   Research and Develop a Topic
           •   Math - Geometry 1
           •   Career Exploration: Information Technology
           •   Computer Skills and Literacy
           •   Math - Geometry II
           •   Introduction to Carpentry
           •   MRT (Moral Recognition Therapy)
           •   Introduction to Electrical Studies


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     Mr. Avery has been at NDCS for 5 years now and received his first
misconduct report this past April. He had too many tokens for the vending
machine. The limit is 25 and he had 38, he received a verbal warning.
      In US v. Nunez, Chief Sanchez looked at the defendant's programming,
continuing education and disciplinary issues and found a Petitioner with a
Criminal History who demonstrated significant rehabilitative efforts.
   In US v. Redrick, the judge found a sentence reduction to be "greatly
favored" because of the defendant's rehabilitative efforts, programming, and
continuing education in spite of the serious crimes and history of the
Petitioner.
   The amendment further clarifies that while rehabilitation is not, by itself,
an extraordinary and compelling reason, it may be considered in combination
with other circumstances.


                  ARGUMENT 7: MR. AVERY'S HOME PLAN
       Mr. Avery has an excellent home plan. Mr. Avery has many places that he
can live once he is released, he can live with his mother, Lori or dad, Bob in
Omaha, NE. He could also live with his sister, Erin in Omaha, his brother Brian
in Chicago, or his other brother Adam in Portland, OR. We would be more than
welcome with any member of his family.
       Mr. Avery is still in contact and communication with his previous boss
and he is ready and willing to resume his employment and become a
productive member of society. He has the ability to rent a place if needed when
he is released. He will abide by all of the court ordered stipulations that the
court imposed. He will have the full support of his family.
                                 CONCLUSION
      If released, Mr. Avery understands that he would most likely still be
under significant supervision-this is, effectively, still a prison sentence.
Moreover, the court has the authority to "impose a term of probation or
supervised release with or without conditions that do not exceed the unserved
portion of the original term of imprisonment.» Thus, to the extent the court
deems it just and proper, the court could order that he be released, but placed
on home incarceration as a condition of supervised release until his current
release date. It is hard not to imagine how home incarceration should the court
adopt the same, not remain "symbolic" while also accomplishing the other


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original purposes of the court's sentence. This is particularly true when one
considers what home incarceration actually is:
See....https://www.uscourts.gov/services-forms/location-monitoring-probati
on-supervised-release-conditions
      c. Home Incarceration: Home Incarceration requires 24-hours-a-day
      lock-down except for medical necessities and court appearances or other
      activities specifically approved by the court.
Ultimately, the court can devise any post-release conditions it sees fit to
address any lingering concerns it may have. For instance, in U.S. v. Gray, the
court ordered the release of a 64-year-old inmate, and it noted that
post-release supervision "will continue to serve as a sanction and general
deterrent, appropriately recognizing the seriousness of Mr. Gray's conduct.
Further incarceration is not needed to deter Mr. Gray from further offenses.,,
U.S. v. Gray, 2019 U.S. Dist. LEXIS 160593 at *12-13 (S.D. Ind. September 20,
2019).
       Mr. Avery prays that this Honorable Court will see that he deserves a
second chance at living his life. Mr. Avery and his family pray that the
Honorable Court grants him a sentence reduction. A reduction in sentence
would give Mr. Avery some hope in life after this incident that has changed his
life forever. Mr. Avery does realize that willful non-compliance or a violation of
any of the set conditions may result in modification of the sentence or
revocation by the court.


Respectfully submitted this 25th day of June 2024.


NICHOLAS AVERY
#211347
Tecumseh State Correctional Institute
POBox900
Tecumseh, NE 68450




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    JS 44 (Rev. 08/18)                                                       CIVIL COVER SHEET
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the C1erk of Court for the
    purpose of initiating the civil docket sheet (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

    I. (a) PLAINTIFFS                                                                                           DEFENDANTS

            Nicholas Avery                                                                                           Warden - TECUMSEH STATE Cl
        (b) County of Residence of First Listed Plaintiff           J_o_h_n_s_o_n_______                        County of Residence of First Listed Defendant
                                                                                                                                                                                            -Johnson
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        (c) Attorneys (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)


              None
II. BASIS OF JURISDICTION (Place an "X" in One Box On!Y)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
                                                                                                            (For Diversity Cases Only)                                                       and One Box for Defendant)
    □   1   U.S. Government            0( 3   Federal Question                                                                         PI'F        DEF                                                      PI'F       DEF
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    □   2   U.S. Government            □ 4    Diversity                                               Citizen of Another State         □     2      □    2 . Incorporated and Principal Place                □ 5       □ 5
               Defendant                        (Indicate Citizenship of Parties in Item Ill)                                                                   of Business In Another State

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    □ 120Marine                       □ 310 Airplane                  □
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                                                                                                                     881 □ 423 Withdrawal                     □ 376 Qui Tam (31 USC
 □ 130 Miller Act                 □ 315 Airplane Product                 Product Liability □ 690 Other                            28 USC 157                          3729(a))
 □ 140 Negotiable Instrument             Liability             □ 367 Health Care/                                                                             □ 400 State Reapportionment
 □ 150 Recovery of Overpayment    □ 320 Assault, Libel &                Pharmaceutical                                        PROPERTY RIGIITS                □ 410 Antitrust
       & Enforcement of Judgment         Slander                        Personal Injucy                                     □ 820 Copyrights                  □ 430 Banks and Banking
 □ 151 Medicare Act               □ 330 Federal Employers'              Product Liability                                   □ 830Patent                       □ 450 Commerce
 □ 152 Recovery of Defaulted             Liability             □ 368 Asbestos Personal                                      □ 835 Patent - Abbreviated        □ 460 Deportation
       Student Loans              □ 340Marine                            Injury Product                                           New Drug Application        □ 470 Racketeer Influenced and
       (Excludes Veterans)        □ 345 Marine Product                  Liability                                           □ 840 Trademark                           Corrupt Organizations
 □ 153 Recovery of Overpayment           Liability                 PERSONAL PROPERTY                   LABOR                  SOCIAL SECURITY                 □ 480 Consumer Credit
       of Veteran's Benefits      □ 350 Motor Vehicle          □ 370 Other Fraud           □ 710 Fair Labor Standards       □ 861 HIA (1395ft)                □ 485 Telephone Consumer
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 □ 190 Other Contract                   Product Liability      □ 380 Other Personal        □ 720 Labor/Management           □ 863 DIWC/DIWW (405(g))          □ 490 Cable/Sat TV
 □ 195 Contract Product Liability □ 360 Other Personal                  Property Damage           Relations                 □ 864 SSID Title XVI              □ 850 Securities/Commodities/
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 □ 210 Land Condemnation          □ 440 Other Civil Rights          Habeas Corpus:         □ 791 Employee Retirement        □ 870 Taxes (U.S. Plaintiff       □ 895 Freedom of Information
 □ 220 Foreclosure                □ 441 Voting                 □ 463 Alien Detainee              Income Security Act              or Defendant)                       Act
 □ 230 Rent Lease & Ejectment     □ 442 Employment             □ 510 Motions to Vacate                                      □ 871 IRS-Third Party             □ 896 Arbitration
 □ 240 Torts to Land              □ 443 Housing/                        Sentence                                                   26USC7609                  □ 899 Administrative Procedure


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